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                        8
                                                       UNITED STATES DISTRICT COURT
                        9
                                                     NORTHERN DISTRICT OF CALIFORNIA
                       10
                                                            SAN FRANCISCO DIVISION
                       11
                            IN RE CATHODE RAY TUBE (CRT)       )             Case No. 3:07-cv-05944-SC
                       12   ANTITRUST LITIGATION               )
                                                               )
                       13                                      )
                            __________________________________ )             NOTICE OF WITHDRAWAL OF
                       14                                      )             COUNSEL
                            This Document Relates to:          )
                       15                                      )
                                   ALL ACTIONS                 )
                       16                                      )
                            __________________________________ )
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                       18   TO THE CLERK OF THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:
                       19          PLEASE TAKE NOTICE that Neil Swartzberg is no longer associated with the firm of
                       20   Cotchett, Pitre & McCarthy, LLP, and is hereby withdrawn as counsel for Plaintiff Orion Home
                       21   Systems, and the direct purchaser plaintiffs in the above-captioned action. Cotchett, Pitre &
                       22   McCarthy, LLP, through the undersigned counsel of record, continues to serve as counsel for
                       23   Plaintiff Orion Home Systems, and the direct purchaser plaintiffs.
                       24   ///
                       25   ///
                       26   ///
                       27   ///
        v              28   ///
   LA W O F F IC E S

  COTCHETT,
   PITRE, &
MCCARTHY, LLP               NOTICE OF WITHDRAWAL OF COUNSEL
                            Case No. 3:07-cv-05944-SC
                             Case 4:07-cv-05944-JST Document 878 Filed 03/18/11 Page 2 of 2



                        1   Dated: March 18, 2011              COTCHETT, PITRE & McCARTHY, LLP
                        2

                        3                                By:    /s/ Steven N. Williams
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   LA W O F F IC E S

  COTCHETT,
   PITRE, &
MCCARTHY, LLP               NOTICE OF WITHDRAWAL OF COUNSEL
                            Case No. 3:07-cv-05944-SC                                                       2
